 Case 1:18-cr-10074-STA         Document 187       Filed 12/21/18      Page 1 of 1    PageID 348




                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,          )
                                    )
            Plaintiff,             )
                                    )
VS.                                )                 CR. NO. 1:18-10074-STA
                                    )
NATASHA SPAIN,                     )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
__________________________________________________________________________________



       This cause came to be heard on December 21, 2018, Assistant United States Attorney, Matt
Wilson, appearing for the Government and the defendant, Natasha Spain, appearing in person, and with
counsel, Charles Mitchell.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a guilty plea to Count 2 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       Defendant released to custody of United States Marshals.

       ENTERED this the 21st day of December, 2018.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
